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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :

             v.                               :    Crim. No. 1:22-cr-00015-APM

JOSHUA JAMES                                  :



                            ORDER AMENDING CURFEW HOURS

        On Motion of the defendant, for good cause shown, and with the government not

objecting, the Court hereby ORDERS that the defendant’s conditions of release are modified to

reflect that he shall be subject to a curfew such that he may leave his residence for any reason,

subject to a 60 mile radius, between 7:00 a.m. and 7:00 p.m, Monday through Friday, and

between 7:00 a.m. and 8:30 p.m. Saturday and Sunday. The defendant shall further be permitted

to be outside his home between 7:00 p.m. and 8:30 p.m. two weekdays per week for the purposes

of therapeutic meetings.

        It is further ORDERED that the remaining terms of the defendant’s release shall remain

in full force and effect.



        It is ORDERED this _______________ day of May 2022

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                                                                   -04'00'
                                                  ______________________________________
                                                   UNITED STATES DISTRICT COURT JUDGE
